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 MINUTES [0:30]
 September 27, 2023


                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION

 TEXAS EASTERN TRANSMISSION L P                 CIVIL ACTION NO. 23-cv-589

 VERSUS                                         JUDGE S. MAURICE HICKS, JR.

 LL GOLSON, LLC                                 MAGISTRATE JUDGE HORNSBY



        A telephone status conference was held on September 27, 2023. The parties are

 very close to a resolution and are circulating a draft of a preliminary settlement

 memorandum. Once that is done, the parties will contact the court for issuance of a 90-

 day order of dismissal.

        Plaintiff anticipates filing an amended pleading to add a new party in the next week

 or so. Mr. Donald will reach out to Phillip Downer, who is believed to be the attorney for

 the new party, to see if claims against the new party can be resolved without the necessity

 of responsive pleadings.

        A follow-up telephone status conference will be held on January 18, 2024 at 10:30

 a.m. Dial-in instructions will be emailed to all counsel of record. Trial counsel for each

 party must participate.
